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                              United States District Court
                                        for the
                              Southern District of Florida

 Disability Rights Florida, Inc.,        )
 Plaintiff,                              )
                                         )
 v.                                      )
                                         ) Consolidated Action Case No. 14-
 Julie Jones, as Secretary, Florida      ) 23323-Civ-Scola (Orig. Case No. 14-
 Department of Corrections, Wexford      ) 24140-Civ-Scola)
 Health Sources, Inc., and Florida       )
 Department of Corrections,              )
 Defendants.                             )

               Order of Dismissal of the Disability Rights Case Only
       The parties jointly ask the Court to dismiss, with prejudice, the portion of
 this case that is between Plaintiff Disability Rights Florida, Inc. and Defendants
 Julie L. Jones, the Florida Department of Corrections, and Wexford Health
 Sources, Inc. in accordance with Federal Rule of Civil Procedure 41(a)(2). (Joint
 Mot. to Dismiss, ECF No. 231). The Court grants the motion (ECF No. 231) and
 dismisses, with prejudice, that portion of this consolidated action only. The Court
 reserves jurisdiction to enforce the parties’ settlement agreement and to determine
 reasonable attorneys’ fees and expenses should the parties find themsleves unable
 to resolve such issues on their own. The dismissal of this action does not affect
 the remaining litigation (originally encompassed in the 14-24140-Civ-Scola case)
 between Plaintiff Andre Chapman and Defendants Florida Department of
 Corrections, Corizon, LLC, Roland Clarke, Cornelius Thompson, and Jerry
 Cummings. The case is therefore to remain open.
       Done and ordered in chambers, at Miami, Florida, on November 8, 2017.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
